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         Exhibit 37
6/16/2017                             Little League and Asphalt Green opening days set | BatteryPark.TV We Inform
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    Little League and Asphalt Green opening days set
    Posted on March 29, 2013 by Editor

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    March 26, 2013 By Steven E. Greer, MD

    From the BPCA board meeting today, it was announced that the ballfield reconstruction is completing, and that
    opening day will be on April 7th for Little League. Full details will follow.

    Regarding Asphalt Green, the amended contract that was close to completion in October, 2012, before the
    hurricane damage, has been completed. The cost to Asphalt Green from the delays in opening, and the costs to
    repairing the facility, were both amicably negotiated. Chairmen Dennis Mehiel set May 1st as the date for when
    Asphalt Green would be allowed to enter the facility and prepare for a full opening date of June 1. If the BPCA
    does not successfully complete the repairs in time, and the summer camp season is missed, then an extra
    $200,000 will be paid to Asphalt Green from the BPCA. Full details will follow.

    This entry was posted in ­ Real estate, Accomplishments, Asphalt Green, Battery Park City and BPCA, Child care, Hurricane Sandy, Outdoor events, Parks, Sports and fitness,
    TriBeCa. Bookmark the permalink.




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